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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                CIVIL NO: _______________

DOUG FOSTER,                                                          Plaintiff


vs.


GC SERVICES, LP,                                                      Defendant

Serve:
GC Services, LP
6330 Gulfton
HOUSTON, TX 77081
                                           COMPLAINT

         NOW COMES Plaintiff, DOUG FOSTER, by and through his attorneys, KROHN &

MOSS, LTD., and for his Complaint against Defendant, GC SERVICES, LP, alleges and

affirmatively states as follows:

                                          INTRODUCTION

         1.     Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (“FDCPA”).

                                             PARTIES

         2.     Plaintiff is an individual who was at all times relevant hereto residing in the State

of Kentucky, County of Madison.

         3.     Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term in defined by 15 U.S.C. §

1692a(5).

         4.     Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and sought to

collect a consumer debt from Plaintiff.




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        5.      Defendant is a national corporation with its headquarters in Houston, Texas.

        6.      Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                                 JURISDICTION AND VENUE

        7.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

that such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court supplemental

jurisdiction over the state claims contained therein.

        8.      Defendant conducts business in the State of Kentucky, and therefore, personal

jurisdiction is established.

        9.      Venue is proper under 28 U.S.C. § 1391(b)(2).

                                      FACTUAL ALLEGATIONS

        10.     In or around November of 2012, Defendant placed at least one collection call to

Plaintiff seeking and demanding payment for a consumer debt arising from transactions for

personal, family, and/or household services.

        11.     Defendant placed a collection call to Plaintiff on his home phone at (859) 661-

71XX.

        12.     In or around November of 2012, Defendant placed a collection call to Plaintiff

and left a voicemail message.

        13.     In the voicemail message, Defendant’s representative failed to disclose the name

of the company placing the call, failed to state that call was being placed by a debt collector, and

failed to state that the call was being placed in an attempt to collect an alleged debt. See

Transcribed voicemail message attached hereto as Exhibit A.




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       14.     In the voicemail message, Defendant’s representative directed Plaintiff to return

the call to (866) 862-2793 extension 3742, which is a number that belongs to Defendant. See

Exhibit A.

       15.     Defendant is using false, deceptive and misleading means in connection with

attempting to collect a debt by not identifying the purpose of its phone calls or that they are an

attempt to collect a debt.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT


       16.     Defendant violated the FDCPA based on the following:

               a.      Defendant violated §1692d(6) of the FDCPA through the

                       placement of calls without meaningful disclosure of the caller’s

                       identity.

               b.      Defendant violated §1692e of the FDCPA through the use of false,

                       deceptive, or misleading representation or means in connection

                       with the collection of any debt.

               c.      Defendant violated § 1692e(10) of the FDCPA by using deceptive

                       means in an attempt to collect a debt.

               d.      Defendant violated §1692e(11) of the FDCPA through the failure

                       to    state   in   its   communications   with   Plaintiff   that   the

                       communication was from a debt collector.

                                           PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, DOUG FOSTER, respectfully requests judgment be entered against

Defendants, GC SERVICES, LP for the following:




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       17.    Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.

§1692k;

       18.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. §1692k;

       19.    Any other relief that this Honorable Court deems appropriate.

                                                   Respectfully Submitted,

                                           DOUG FOSTER

                                           By: /s/ Shireen Hormozdi

                                           Shireen Hormozdi
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